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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

 SELINA MARIE RAMIREZ et al.,                         §
                                                      §
       Plaintiffs,                                    §
                                                      §
 v.                                                   §      Civil Action No. 4:20-CV-00007-P
                                                      §
 CITY OF ARLINGTON et al.                             §
                                                      §
       Defendants.                                    §

                                         SCHEDULING ORDER

I.        SUMMARY OF CRITICAL DATES

     Deadline for Motions for Leave to Join               March 6, 2020
     Parties or Amend Pleadings (¶ 2)
     Initial Expert Designation & Report (¶ 4 a.)         July 17, 2020
     Responsive Expert Designation & Report (¶            August 17, 2020
     4 b.)
     Rebuttal Expert Designation (¶ 4 c.)                 30 days after disclosure made by other party
     Expert Objections (¶ 4 d.)                           February 8, 2021
     Dispositive Motions (¶ 3)                            November 13, 2020
     Mediation (¶ 5)                                      September 16, 2020
     Completion of Discovery (¶ 6)                        October 16, 2020
     Pretrial Disclosures and Objections (¶ 7)            February 3, 2021
                                                          Objections due 14 days thereafter
     Pretrial Materials (pretrial order etc.)(¶ 8)        February 18, 2021
     Exchange of Exhibits (¶ 9)                           March 1, 2021
     Pretrial Conference (¶ 11)                           To be set if necessary.
     Trial Date (¶ 1)                                     March 15, 2021




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II.      SCHEDULING INSTRUCTIONS

         Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and the local rules of this

Court (except as modified herein), the Court, having considered the status report submitted by the

parties, finds that the following schedule should govern the disposition of this case:

         Unless otherwise ordered or specified herein, all limitations and requirements of the

Federal Rules of Civil Procedure and the local rules of this Court must be observed.

         Please note that the Court has attempted to adhere to the schedule requested by the

parties. In so doing, the Court assumes that the parties thoroughly discussed scheduling

issues prior to submitting their status report and that the parties understand that the

deadlines imposed in this Order are firmly in place, absent the few exceptions set forth below.

         1.     Trial Date: This case is set for trial on this Court’s four-week docket beginning

                March 15, 2021. Counsel and the parties shall be ready for trial on two days’

                notice at any time during this four-week period.

         2.     Joinder of Parties or Amendment of Pleadings: By March 6, 2020, all motions

                requesting joinder of additional parties or amendments of pleadings shall be filed.

         3.     Dispositive Motions: By November 13, 2020, all motions that would dispose of

                all or any part of this case (including motions for summary judgment) shall be

                filed.

         4.     Experts:

                a. Initial Designation of Expert(s): Unless otherwise stipulated or directed by
                order, the party with the burden of proof on the issue subject to the expert
                designation shall file a written designation of the name and address of each expert
                witness who will testify at trial for that party and shall otherwise comply with Rule
                26(a)(2) of the Federal Rules of Civil Procedure on or before July 17, 2020.
                (Unless otherwise noted, all references to Rules in this Order shall refer to the
                Federal Rules of Civil Procedure.)



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         b. Responsive Designation of Expert(s): Each party without the burden of proof
         on the issue subject to expert designation shall file a written designation of the name
         and address of each expert witness who will testify at trial for that party and shall
         otherwise comply with Rule 26(a)(2) on or before August 17, 2020.

         c. Rebuttal Expert(s): If the evidence is intended solely to contradict or rebut
         evidence on the same subject matter identified by another party under Rule
         26(a)(2)(B), the disclosures required under Rule 26(a)(2) shall be made within 30
         days after the disclosure made by the other party.

         d. Challenges to Experts: The parties are directed to file any objections to, or
         motions to strike or exclude expert testimony (including Daubert motions), no later
         than February 8, 2021. No challenges to experts shall be filed prior to November
         13, 2020 without obtaining leave of court.

   5.    Mediation: In accordance with the Court’s Civil Justice Expense and Delay

         Reduction Plan, the Court hereby REFERS this case to mediation and APPOINTS

         Michael J. Henry as the mediator in this case. A party opposing either mediation

         referral or the appointed provider should file a written objection within 10 days of

         the date of this Order. The parties shall mediate with Mr. Henry on or before

         September 16, 2020. Within seven days after the mediation, the parties shall

         jointly prepare and file a written report, which shall be signed by counsel for

         each party, detailing the date on which the mediation was held, the persons present

         (including the capacity of any representative), and a statement informing the Court

         of the effect of their mediation and whether this case has been settled by agreement

         of the parties.

   6.    Completion of Discovery:         By October 16, 2020, all discovery—including

         discovery concerning expert witnesses—shall be completed. The parties may agree

         to extend this discovery deadline, provided (a) the extension does not affect the

         trial setting, dispositive motions deadline, challenges to experts deadline, or pretrial

         submission dates; and (b) written notice of the extension is given to the Court.

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        7.      Pretrial Disclosures and Objections: Unless otherwise directed by order, the

                parties must make the disclosures required by Rule 26(a)(3)(A)-(B) by February

                3, 2021. With respect to the identification of witnesses who will be called by

                deposition, the parties must also identify the portions of the deposition transcript

                that they intend to use. (Modification of Rule 26(a)(3)(A)(ii)). Within 14 days

                thereafter, a party must serve and file a list disclosing any objections, together

                with the grounds therefor, to: (a) the use under Rule 32(a) of a deposition designated

                by another party under Rule 26(a)(3)(A)(ii); (b) the admissibility of materials

                identified under Rule 26(a)(3)(A)(iii); and (c) the use of any witnesses (except for

                expert objections) identified under Rule 26(a)(3)(A)(i)1, if any. Objections not so

                disclosed, other than objections under Rules 402 and 403 of the Federal Rules of

                Evidence, are waived unless excused by the Court for good cause.

        8.      Pretrial Materials: By February 18, 2021 except as otherwise noted below, all

                pretrial materials shall be filed. Specifically, by this date:

                a. Pretrial Order: A joint pretrial order shall be submitted by the Plaintiff's
                attorney which covers each of the matters listed in Local Rule 16.4 and which states
                the estimated length of trial. If an attorney for either party does not participate in
                the preparation of the joint pretrial order, the opposing attorney shall submit a
                separate pretrial order with an explanation of why a joint order was not submitted
                (so that the Court can impose sanctions, if appropriate). Each party may present its
                version of any disputed matter in the joint pretrial order; therefore, failure to agree
                upon content or language is not an excuse for submitting separate pretrial
                orders. (Modification of Local Rule 16.4). When the joint pretrial order is
                approved by the Court, it will control all subsequent proceedings in this case. If
                submitted on paper, the parties must submit the original and one copy of the
                proposed pretrial order (styled as the “Pretrial Order”) directly to the Court’s
                chambers. Do not file it with the clerk. The Court will direct the clerk to file it
                after the Court signs it. The proposed pretrial order must be transmitted to the


        1 Requiring parties to file objections to witnesses disclosed under Rule 26(a)(3)(A)(i) is a
modification of the requirements of Rule 26(a)(3)(B), which only requires that the parties file objections to
deposition designations (Rule 26(a)(3)(A)(ii)) and exhibits (Rule 26(a)(3)(A)(iii)).

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                electronic    address   used     for      receipt    of    proposed                 orders
                (pittman_orders@txnd.uscourts.gov) no later than February 19, 2021.

                b. Witness List: A list of witnesses shall be filed by each party, which divides
                the persons listed into groups of “probable witnesses,” “possible witnesses,”
                “experts,” and “record custodians” and which provides:

                        (i) the name and address of each witness;

                        (ii) a brief narrative summary of the testimony to be covered by each

                        witness;

                        (iii) whether the witness has been deposed; and

                        (iv) the expected duration of direct or cross-examination of the witness.2

                        The Witness list will include three columns. The first column will contain
                        a brief statement of the subject matter to be covered by a particular witness.
                        The second column will bear the heading “Sworn” and the third column will
                        bear the heading “Testified” so that the Court can keep track of the
                        witnesses at trial.

                        If any witness needs an interpreter, please note this on the witness list. It is
                        the obligation of the party offering such a witness to arrange for an
                        interpreter to be present at trial.

                        (Modification of Local Rule 26.2(b))


                c. Exhibit List and Deposition Testimony Designations: A list of exhibits
                (including demonstrative exhibits) and a designation of portions of depositions
                to be offered at trial shall be filed by each party. The list of exhibits shall describe
                with specificity the documents or things in numbered sequence. The documents or
                things to be offered as exhibits shall be numbered by attachment of gummed labels
                to correspond with the sequence on the exhibit list and identify the party submitting
                the exhibit. (Modification of Local Rule 26.2(b), (c)). Do not use letter suffixes to
                identify exhibits (e.g., designate them as 1, 2, 3, not as 1A, 1B, 1C). The Exhibit
                list will include two columns, one bearing the heading “Offered” and the other
                bearing the heading “Admitted.”

        2 Pursuant to Rule 16(c)(2)(O) and Section VII of the United States District Court for the Northern
District of Texas Civil Justice Expense and Delay Reduction Plan, the Court may impose a reasonable limit
on the time allowed for presenting evidence in this case. See Commentary - 1993 Amendment to the
Federal Rules of Civil Procedure (court should ordinarily impose time limits only after receiving
appropriate submissions from the parties).

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                Each party’s exhibit list shall be accompanied by a written statement, signed by
                counsel for each party and state that, as to each exhibit shown on the list,

                         (i) the parties agree to the admissibility of the exhibit; or

                         (ii) the admissibility of the exhibit is objected to, identifying the nature and
                         legal basis of any objection to admissibility and the name(s) of the party or
                         parties urging the objection.

                All parties shall cooperate in causing such statements to be prepared in a timely
                manner for filing with the exhibit lists. Counsel for the party proposing to offer an
                exhibit shall be responsible for coordinating activities related to preparation of such
                a statement as to the exhibit the party proposes to offer. This includes an obligation
                to make exhibits available for inspection in advance of the deadline for filing
                exhibit lists where a party needs to see exhibits to assess admissibility. The Court
                may exclude any exhibit offered at trial unless such a statement regarding the
                exhibit has been filed in a timely manner. In addition, objections not identified in
                the statement may be waived.

                A list of each party’s exhibits to which no objection will be lodged (preadmitted)
                must be submitted at the pretrial conference.3 The Court expects the parties to
                confer and agree to admit the majority of their exhibits prior to trial.

                d. Jury Charge: Requested jury instructions and questions (annotated)4 shall
                be filed as set forth below. In order to minimize time after commencement of the
                trial in resolving differences in the language to be included in the Court’s charge to
                the jury:

                         (i)     Counsel for the Plaintiff shall deliver to counsel for Defendant by
                                 February 8, 2021 a copy of its proposed Court’s charge to the jury.

                         (ii)    Counsel for Defendant shall deliver to counsel for the Plaintiff by
                                 February 10, 2021 (A) a statement, prepared with specificity, of
                                 any objection his client had to any part of the proposed charge that
                                 counsel for Plaintiff has delivered pursuant to this paragraph and (B)
                                 the text of all additional instructions or questions his client wishes
                                 to have included in the Court’s charge to the jury. Each objection


        3  This does not change the sequential manner in which each side should number its exhibits. In
other words, a party should not separately number its exhibits into “objected to” and “unobjected to”
categories.
         4 “Annotated” means that each proposed instruction shall be accompanied by citation to statutory

or case authority and/or pattern instructions. It is not sufficient to submit a proposed instruction without
citation to supporting authority.

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                        and each such request shall be accompanied by citations of
                        authorities supporting defendant’s objection or request.

                (iii)   At 10:00 a.m. on February 12, 2021, the lead attorneys for the
                        parties to this action shall meet face-to-face at either (A) a mutually
                        agreeable place, or (B) at the office of counsel for the Plaintiff
                        located in Ft. Worth, Texas or within 50 miles of the Ft. Worth
                        Division of the Northern District of Texas, for the purposes of (1)
                        discussing, and trying to resolve, differences between the parties as
                        to language to be included in the Court’s charge to the jury and (2)
                        identifying areas of disagreement that cannot be resolved. Such
                        meeting shall be held for a sufficient length of time for there to be a
                        meaningful discussion of all areas of disagreement and a meaningful
                        attempt to accomplish agreement. Each attorney shall cooperate
                        fully in all matters related to such a meeting.

                (iv)    By 2:00 p.m. on February 16, 2021 counsel for Plaintiff shall file a
                        document titled “Agreed Charge” which in a single document shall
                        contain, in logical sequence, all language to be included in the
                        charge, including jury instructions and jury questions, about which
                        the parties do not have disagreement and all language either party
                        wishes to have included in the charge about which there is
                        disagreement. All language of the proposed charge about which
                        there is disagreement shall be (A) in bold face, (B) preceded by an
                        indication of the identity of the party requesting the language, and
                        (C) followed by a listing of citations of authorities in favor of and in
                        opposition to the proposed language. Objections may be waived if
                        not stated in the Agreed Charge.


         Plaintiff must also send, in a WordPerfect-compatible format, the Agreed Charge
         to: pittman_orders@txnd.uscourts.gov and include the case number and the
         document number of the referenced motion in the subject line.

         e. Limited Number of Motions in Limine: Motions in limine should not be filed
         as a matter of course. If filed, counsel must file them with the Court and serve them
         on the opposing party by February 16, 2021. Responses must be filed with the
         Court and served on the opposing party by March 1, 2021. Replies to responses
         are not permitted except by leave of Court. Parties may file motions in limine on
         no more than TEN discrete topics (no subparts) that are actually in dispute. (good
         faith compliance with the conference requirements of Local Rule 7.1 will help to
         narrow issues that are actually in dispute). Motions in limine that contain boilerplate
         requests, that exceed ten topics or that cover undisputed issues will be stricken.




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         f. Voir Dire: The parties shall file any proposed voir dire questions which the
         Court is requested to ask during its examination of the jury panel by February 22,
         2021.

         g. Trial Briefs: Trial briefs may be filed by each party. In the absence of a specific
         order of the Court, trial briefs are not required, but are welcomed. The briefing
         should utilize Fifth Circuit and/or Supreme Court authority or relevant state
         authority to address the issues the parties anticipate will arise at trial.

         NOTE: Deadlines in this order regarding pretrial materials are dates for filing or
         delivery, not mailing dates.

   9.    Exchange of Exhibits: No later than March 1, 2021, counsel for each party

         intending to offer exhibits shall exchange a complete set of marked exhibits

         (including demonstrative exhibits) with opposing counsel and shall deliver a set

         of marked exhibits to the Court’s chambers (except for large or voluminous

         items that cannot be easily reproduced).


   10.    Settlement Conference and Status Report:
         a. Settlement Conference: No later than March 1, 2021, the parties and their
         respective lead counsel shall hold a face-to-face meeting to discuss settlement of
         this case. Individual parties and their counsel shall participate in person, not by
         telephone or other remote means. All other parties shall participate by a
         representative or representatives, in addition to counsel, who shall have unlimited
         settlement authority and who shall participate in person, not by telephone or other
         remote means. If a party has liability insurance coverage as to any claim made
         against that party in this case, a representative of each insurance company providing
         such coverage, who shall have full authority to offer policy limits in settlement,
         shall be present at, and participate in, the meeting in person, not by telephone or
         other remote means. At this meeting, the parties shall comply with the requirements
         of Local Rule 16.3.

         b. Joint Settlement Report: Within seven days after the settlement conference,
         the parties shall jointly prepare and file a written report, which shall be signed
         by counsel for each party, detailing the date on which the meeting was held, the
         persons present (including the capacity of any representative), a statement
         regarding whether meaningful progress toward settlement was made, and a
         statement regarding the prospects of settlement.




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   11.    Pretrial Conference: A pretrial conference will be conducted, in person, if the

         Court determines such a conference is necessary. If the Court anticipates imposing

         time limits on the presentation of evidence that significantly reduces the parties’

         estimated trial length, the Court will schedule a pretrial conference and advise of

         such deadlines so that counsel will have reasonable notice of such limits. Lead

         counsel for each party must attend, or, if the party is proceeding pro se, the party

         must attend. Fed. R. Civ. P. 16 (c)(1) & (e). Lead counsel and pro se parties must

         have the authority to enter into stipulations and admissions that would facilitate the

         admission of evidence and reduce the time and expense of trial. Id. All pretrial

         motions not previously decided will be resolved at that time, and procedures for

         trial will be discussed. At the final pretrial conference, it should be possible to

         assign the specific date for trial during the four-week docket. Telephone calls

         about the probable trial date prior to the final pretrial conference will not

         likely be beneficial to counsel or the Court staff.

   12.    Modification of Scheduling Order: As addressed above, this Order shall control

         the disposition of this case unless it is modified by the Court upon a showing of

         good cause and by leave of court. Fed. R. Civ. P. 16(b)(4). Conclusory statements

         will usually not suffice to show good cause, even if the motion is agreed or

         unopposed. Moreover, the Court does not grant motions to modify the scheduling

         order as a matter of course. Any request that the trial date of this case be modified

         must be made (a) in writing to the Court, (b) before the deadline for completion

         of discovery, and (c) in accordance with the United States District Court for the

         Northern District of Texas Civil Justice Expense and Delay Reduction Plan ¶



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          V and Local Rule 40.1 (motions for continuance must be signed by the party as

          well as by the attorney of record).

    13.   Sanctions: Should any party or counsel fail to cooperate in doing anything

          required by this Order, such party or counsel or both may be subject to sanctions.

          No pending dispositive motion or other request for affirmative relief (unless

          otherwise ordered by the Court or permitted by applicable law) relieves a

          party or counsel of their obligation to comply with the deadlines and

          instructions required by this Order. If the plaintiff does not timely file the

          required (or other) pretrial material, the case will be dismissed.              If the

          defendant/third party does not timely file the required (or other) pretrial material, a

          default will be entered or the defendant/third party will not be permitted to present

          witnesses or exhibits at trial. Fines or other sanctions, if appropriate, may also be

          imposed under Rule 16(f). Failure to list a witness, exhibit, or deposition

          excerpt as required by this Order shall be grounds for exclusion of that evidence.

          This does not apply to testimony, exhibits, or deposition excerpts offered for

          impeachment; further, the use of unlisted witnesses, exhibits, or deposition excerpts

          for rebuttal shall be permitted if the attorneys could not have reasonably anticipated

          their need for that evidence.

    14.   Electronic Filing Procedures: This case has been designated for enrollment in

          the Electronic Case Filing System (CM/ECF). (For more information on the ECF

          system, please see http://www.txnd.uscourts.gov/filing/ecf.html). Now that the

          case is designated an ECF case, all documents must be filed electronically;

          however, the Court still requires that courtesy copies of dispositive motions (and



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          accompanying briefs and appendices) be sent to Chambers. Proposed orders are

          required to be submitted with EVERY motion. (Modification to Local Rule

          7.1(c)). Proposed orders must be submitted via e-mail in a Word or WordPerfect-

          compatible format as instructed in the CM/ECF system’s “Proposed Orders” Event.

          The proposed orders must be e-mailed to: pittman_orders@txnd.uscourts.gov.

          Include the case number and the document number of the referenced motion in the

          subject line.

    15.   Citations: All briefs filed with the Court shall comply with the most recent edition

          of The Bluebook: A Uniform System of Citation. Particularly, counsel are directed

          to provide, where applicable, the subsections of cited statutes, and to provide

          pinpoint citations when citing cases, i.e., provide the page where the stated legal

          proposition can be found. See Bluebook Rules 3.2-3.4 (Columbia Law Review

          Ass’n et al. eds, 20th ed. 2015) (regarding pinpoint citations and subsections).

          Furthermore, if a brief contains citations to unpublished opinions or to LEXIS,

          counsel must attach copies of those cases to the brief.

    16.   Notice: Each attorney of record and any unrepresented party must review and

          adhere to the Local Civil Rules of the Northern District of Texas, which may be

          accessed        at     http://www.txnd.uscourts.gov/rules/localrules/lr_civil.html.

          Additionally, each attorney of record and any unrepresented party must review and

          abide by the standards of litigation conduct for attorneys appearing in civil actions

          in the Northern District of Texas, as outlined in Dondi Properties Corp. v.

          Commerce Savings & Loan, 121 F.R.D. 284 (N.D. Tex. 1988) (en banc), which

          may be accessed at http://www.txnd.uscourts.gov/publications/index.html.



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    17.   Inquiries: Questions relating to this scheduling order or legal matters should be

          presented in a motion, as appropriate. Questions regarding electronic notice or

          electronic case files shall be directed to the Help Desk at 1-866-243-2866. If any

          electronic equipment is needed in the courtroom, notify Brian Rebecek, Fort Worth

          Division Manager, at 817-850-6613.


    SO ORDERED on this January 7, 2020.




                                          MARK T. PITTMAN
                                          UNITED STATES DISTRICT JUDGE




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